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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

ATLANTIC RECORDING                  )
CORPORATION, et al.,                )
                                    )
     Plaintiffs,                    )
                                    )              Civil File Action No.
v.                                  )
                                    )              1:17-CV-0431-AT
SPINRILLA, LLC, et al.,             )
                                    )
     Defendants.                    )
____________________________________)

                DEFENDANTS’ FIRST MOTION FOR
            SUMMARY JUDGMENT AND BRIEF IN SUPPORT

      Defendants file this first Motion for Summary Judgment, pursuant to Rule 56

of the Federal Rules of Civil Procedure and Local Rule 56.1, and state as follows:

I.    Introduction

      Plaintiffs’ lawsuit alleges that Defendants have infringed thousands of

Plaintiffs’ sound recordings. But Plaintiffs have no evidence of copying, which,

of course, is the crux of a copyright infringement claim. Since there is no

evidence of copying, Defendants are entitled to summary judgment on both of the

two counts in the Complaint.
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II.     Procedural Background

        The Complaint contains two counts: (1) Direct Copyright Infringement and

(2) Secondary Copyright Infringement. (Amended Complaint, ¶¶ 75-91 (Dkt. 91-

1)). Fact discovery ended nine months later, on October 31, 2017 and expert

discovery ended on January 15, 2018. (Dkt. 113). The deadline for filing dispositive

motions is March 5, 2018. (Dkt. 113).

III.    Factual Background Relevant to this Motion

        The general factual background of this case has been recited in several places,

most significantly in the Court’s Order following a discovery dispute (Dkt. 58) but

also in the Joint Preliminary Report and Discovery Plan (Dkt. 25, pp. 2-6), and

Defendants’ Motion for Sanctions and Supplemental Brief (Dkts. 98-1 and 114,

respectively). For the sake of brevity, Defendants will not repeat that background

here.

        Specific to this Motion, though, it is key to note that Plaintiffs allege, “an

overwhelming amount of the material available on Spinrilla.com and the Spinrilla

apps consists of infringing copies of Plaintiffs’ sound recordings.” (Amended

Complaint, ¶62 (Dkt. 96) (emphasis added)). Plaintiffs list approximately 2,100

songs they claim they own or control and which have been copied by Defendants.

(Amended Complaint, Attachment A (Dkt. 96-1)).

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      Despite these allegations, as discussed below, Plaintiffs have no evidence that

any of their sound recordings have been copied by either Defendant.

IV.   Legal Authorities

      The prima facie elements of a direct copyright infringement claim (Plaintiffs’

first count) are “(1) ownership of a valid copyright, and (2) copying of constituent

elements of the work that are original.” (Feist Publications, Inc. v. Rural Tel. Serv.

Co., 499 U.S. 340, 361, 11 S. Ct. 1282, 1296, 113 L. Ed. 2d 358 (1991); see Oravec

v. Sunny Isles Luxury Ventures L.C., 469 F. Supp. 2d 1148, 1160 (citing Feist Pubs.,

Inc. v. Rural Tel. Serv. Co., 499 U.S. 340, 361, 111 S.Ct. 1282, 113 L.Ed.2d 358

(1991); Calhoun v. Lillenas Publishing, 298 F.3d 1228, 1232 (11th Cir. 2002)); see

also Disney Enters., 798 F. Supp. 2d at 1307 (“[w]here a plaintiff shows that he owns

a valid copyright and that the other party copied some of the protect elements of that

work, he has shown direct infringement of his copyright.”)).

      Plaintiffs’ second and final count is for “Secondary Copyright Infringement.”

(Amended Complaint, ¶¶ 82-91). The Eleventh Circuit recognizes two species of

secondary copyright infringement: (1) contributory and (2) vicarious. A plaintiff

asserting contributory or vicarious theories must prove an underlying act of direct

copyright infringement. (Cable/Home Commc'n Corp. v. Network Prods., Inc., 902

F.2d 829, 845 (11th Cir. 1990)). Therefore, absent evidence of copying, Defendants

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are entitled to summary judgment. (Id. at 845 (“[c]ontributory infringement

necessarily must follow a finding of direct or primary infringement.”)).

      Furthermore, to survive summary judgment, a plaintiff needs to present more

than allegations in the complaint. (See, e.g., Celotex Corp. v. Catrett, 477 U.S. at

322 fn. 3, 106 S.Ct. 2548). Allegations in the Complaint do not create genuine issues

of fact. (See, e.g., Celotex Corp. v. Catrett, 477 U.S. at 324, 106 S.Ct. 2548

(nonmoving party is required “to go beyond the pleadings ... [to] designate specific

facts showing that there is a genuine issue for trial”)) and Mosley v. MeriStar

Management Co., 137 Fed.Appx. 248, 252 n. 3 (11th Cir.2005) (“the complaint was

unverified and therefore could not be considered evidence supporting [plaintiff]'s

claim” on summary judgment)).

V.    Application of Law to Facts

      The Amended Complaint asserts that Defendants engaged in unauthorized

copying of Plaintiffs’ sound recordings. (Amended Complaint, ¶¶ 62-74 (Dkts. 96

and 96-1)). Despite extensive discovery, including written discovery and six

depositions of Plaintiffs’ representatives, Plaintiffs have failed to provide any

evidence that either Defendant directly or indirectly copied any work owned or

controlled by any Plaintiff. Since there is no genuine dispute over a material fact –




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namely, there is no evidence of copying of Plaintiffs’ sound recordings – Defendants

are entitled to summary judgment on either count. (Fed.R.Civ.P. 56(a)).

VI.   Conclusion

      Because Plaintiffs have no evidence of copying, they cannot satisfy their

prima facie case as to either of the two Counts in the Complaint. Therefore,

Defendants are entitled to summary judgment on those counts.

      Respectfully submitted January 23, 2017.

LILENFELD PC

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                    UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

ATLANTIC RECORDING CORPORATION                     )
et al.,                                            )
                                                   )
      Plaintiffs,                                  )      Case No.:
                                                   )
v.                                                 )      1:17-CV-00431-AT
                                                   )
SPINRILLA, LLC et al.,                             )
                                                   )
      Defendants.                                  )

       DEFENDANTS’ STATEMENT OF FACTS IN SUPPORT OF
      DEFENDANTS’ FIRST MOTION FOR SUMMARY JUDGMENT

      On January 23, 2018, Defendants filed the following:

          1. Defendants’ First Motion for Summary Judgment and Brief in Support;

          2. Defendants’ Statement of Facts in Support of Defendants’ First Motion

             for Summary Judgment; and

          3. Declaration of David M. Lilenfeld

      with the Clerk of Court using the CM/ECF system, which automatically and

contemporaneously sends electronic notification and a service copy of such filing to

all counsel of record:

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Dated: January 23, 2018.

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